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Denise Carlon, Esquire
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Attorneys for PNC Bank, National Association
                                                           IN THE UNITED STATES
IN THE MATTER OF:                                          BANKRUPTCY COURT FOR THE
                                                           DISTRICT OF NEW JERSEY

Michael Reinhart and Susan Reinhart                                        CHAPTER 13
                                                                        CASE NO. 22-15254 RG
        DEBTORS,
                                                                    NOTICE OF OBJECTION

        I, Denise Carlon, the undersigned, Esquire For KML Law Group, P.C., attorney for Secured Creditor
PNC Bank, National Association, the holder of a Mortgage on the debtors' premises at 15 Green View Drive
Pequannock, NJ 07440 hereby objects to the confirmation of the debtors' proposed Chapter l3 Plan for the
following reasons:

        1.       The claims bar date is September 7, 2022. Secured Creditor intends to file a claim on or
before the bar date with pre-petition arrears estimated at $3,376.46.
        2.       Debtor's plan provides for payment in the amount of $0.00 towards the arrearage claim of
the Secured Creditor.
        3.       The Debtor's plan incorrectly implies that the Debtor's mortgage with the Secured
Creditor is current and "unaffected by the plan". It is not. As set forth in the Proof of Claim filed by the
Secured Creditor, there has been a default on the Debtor's loan. Therefore, the Secured Creditor objects to
the Debtor's plan as the plan improperly classifies the Secured Creditor as current and there is no
provision dealing with the Secured Creditor’s claim in violation of 11 U.S.C. 1322 (a) 3; 1322 (b) and
(b)5.
        4.       Debtor’s Plan understates the amount of the Secured Creditor’s claim by $3,376.46, and
does not provide sufficient funding to pay said claim.
        5.       Accordingly, Debtor's plan is NOT feasible, as it does not fully compensate the Secured
Creditor.
        6.       In addition, the debtor’s plan fails to comply with 11 U.S.C. 1322 and 11 U.S.C. 1325.

        In the event the debtors cure the aforesaid payments due outside the Chapter 13 Plan prior to the
Confirmation Hearing, the undersigned will not appear at the Confirmation Hearing and aforesaid objections
should be deemed waived.
                                                   /s/Denise Carlon, Esquire
                                                   Denise Carlon, Esquire
                                                   Attorney for PNC Bank, National Association
Dated: August 18, 2022
